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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

Sherri Alexander,

              Plaintiff,

              v.                                             Case No. 1:20cv249

Red Bank Swim School, LLC,                                   Judge Michael R. Barrett

              Defendant.

                                             ORDER

       Pursuant to notification by Plaintiff’s Counsel January 11, 2021 that this matter is settled;

       It is ORDERED that this action is hereby DISMISSED with prejudice, provided that any

of the parties may, upon good cause shown within thirty (30) days, reopen the action.

       The Court retains jurisdiction.

       IT IS SO ORDERED.


                                                              s/Michael R. Barrett
                                                             Michael R. Barrett, Judge
                                                             United States District Court
